

Matter of Michael S. (Rebecca S.) (2018 NY Slip Op 06673)





Matter of Michael S. (Rebecca S.)


2018 NY Slip Op 06673


Decided on October 5, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 5, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, NEMOYER, TROUTMAN, AND WINSLOW, JJ.


1049.3 CAF 16-02110

[*1]IN THE MATTER OF MICHAEL S., JR. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; REBECCA S., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
ROSEMARY L. BAPST, BUFFALO, FOR PETITIONER-RESPONDENT.
CHERYL A. ALOI, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered October 14, 2016 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, transferred respondent's guardianship and custody rights with respect to the subject child to petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Michael S. ([appeal No. 1] — AD3d — [Oct. 5, 2018] [4th Dept 2018]).
Entered: October 5, 2018
Mark W. Bennett
Clerk of the Court








